I dissent. The question involved is whether compensation must be denied because the employee refused to submit to certain proposed surgical treatment for his injury. The injury consisted of lacerations and abrasions of his hand and a compound fracture of the middle finger. His wounds were dressed and his finger put in a splint by a doctor at the plant, who instructed him to report to Dr. Pugh at Salt Lake City. He presented himself to Dr. Pugh, who probed and cleansed the wound and made an X-ray examination, discovered the fracture, and proposed to reduce it. He then put on a splint and fastened it to the finger with rubber bands and attempted to set the bone by pulling the end of the finger, but the employee refused to permit him to do so. The doctor then treated the injury from time to time by the application of dressings. A week or so after the accident, infection developed in the employee's finger, and it became necessary to amputate it. It is not denied that the employee refused to have the fracture reduced, but it is *Page 315 
claimed in his behalf that such refusal was not the cause of the infection and loss of his finger.
At the former review an award of compensation to the employee was annulled by this court because of a finding made by the Industrial Commission at the first hearing to the effect that the employee refused proper medical aid tendered him "as a result of which he contracted a severe infection resulting in the entire loss of the great finger of the left hand." Thereafter the case was again heard by the Industrial Commission. Upon stipulation, all of the evidence produced at the original hearing was considered, and additional opinion or expert evidence was put in by the parties. At the conclusion of the last hearing, the Industrial Commission made findings and again awarded compensation to the employee.
The finding last made concerning the matter in dispute is that the employee sustained the injuries, describing them, "as a result of which it was necessary to amputate applicant's middle finger at the proximal joint by reason of infection resulting from said injury." No mention is made in the findings of the employee's refusal to submit to the surgical treatment tendered, nor of the consequences of such refusal.
It is contended by the employer that the original finding that the infection resulted from the refusal to accept proper treatment still stands and precludes compensation, since there is no contrary finding. This cannot be sustained. The decision of this court upon the review of the first award annulled the whole of the findings and decision of the Industrial Commission and left the case as it stood before any hearing was had or determination made. Denver  R.G.W.R.R. Co. v. IndustrialComm., 74 Utah 316, 279 P. 612. The award before us now must be reviewed upon the record made at the last hearing.
As before stated, the principal grounds for opposing compensation was the employee's refusal to have his fractured finger set. This was answered on the part of the *Page 316 
employee by the contention that reducing the fracture was not for the purpose of preventing infection, but to avoid deformity, and that, while the refusal of the proffered treatment might have resulted in a deformed finger, it had no relation to the infection which developed and necessitated the amputation.
From the evidence on this subject, which was not positive or entirely satisfactory on either side, we think the Industrial Commission would have been justified in finding that the refusal to have the finger set was not the cause of the infection, but that it developed from the original injury. But such a finding was not made. The finding on this point, upon which the award under review rests, is merely that the employee's disability resulted from the injury. The question is thus presented of whether such a finding, under the circumstances of this case, will support the award without a particular finding upon the subject of the result of the employee's refusal to submit to the treatment offered him.
Findings of fact by the Industrial Commission are not required by law. Denver  R.G.W.R.R. Co. v. Industrial Comm., 66 Utah 494,243 P. 800, 803; Moray v. Industrial Comm., 58 Utah 404,199 P. 1023; Bingham Mines Co. v. Allsop, 59 Utah 306,203 P. 644. The only requirement is that, when findings are made, they must be supported by competent evidence and must sustain the award. The rules of procedure applicable to trials in courts of law do not govern proceedings before the Industrial Commission. Such proceedings by express law are given a wider latitude.
Upon the issue of whether the employee's disability resulted from the injury or from his refusal to submit to proper treatment, the finding is that it resulted from the injury. Under the circumstances of the case a particular finding upon the consequences of the refusal to have the fracture set was most appropriate, but it cannot be said that such a finding was required by law. With respect to an analogous situation inDenver  R.G.W. v. Industrial Comm., supra, we said: "The further contention that the *Page 317 
award should be annulled for failure of the Industrial Commission to make a specific finding of fact as to whether the hip infection was prior or subsequent in time to the abscess at the knee is without merit. The Industrial Commission is not required to make specific findings" — citing cases.
From the finding made we must assume that the Industrial Commission rejected the claim of the employer. The award should be affirmed.